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                                   English

          THIS IS A NOTICE OF YOUR RIGHTS
 REGARDING PENDING CLAIM CONCERNING YOUR WAGES

          If you have worked for any of the Farida restaurants
         at any time between January 25, 2016 and the present,
              a pending action may affect your legal rights.

If you need translation of this document, you may submit a request for a
translation into your language by emailing admin@andersondodson.com
                        or calling (212) 961-7639.


                             Español (Spanish)

          ESTE ES UN AVISO DE SUS DERECHOS
SOBRE EL RECLAMO PENDIENTE RELATIVO A SUS SALARIOS

                     Si ha trabajado para Farida
     en cualquier momento entre el 25 de janvier de 2016 y ahora,
       una acción pendiente puede afectar sus derechos legales.

Si necesita una traducción de este documento, puede enviar una solicitud
       de traducción a su idioma enviando un correo electrónico a
      admin@andersondodson.com o llamando al (212) 961-7639




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                               NOTICE OF YOUR RIGHTS
                  REGARDING PENDING CLAIM CONCERNING YOUR WAGES


                           If you have worked for The Farida restaurants,
                     at any time between January 25, 2016 and ________, 202__,
                            a pending action may affect your legal rights.


        Important: You are NOT being sued. This Notice is NOT a solicitation from a lawyer.
    Also, if you qualify, you are eligible to make a claim no matter what your immigration status is.

• Three former employees of the Farida restaurants (“Plaintiffs”) have sued FV COM CORPORATION
    d/b/a Farida, Farida Central Asian Cuisine, and Umka Puff Pies, and FARIDA ONLINE KITCHEN a/k/a Farida
    Authentic Delicious Food 24/7 (referred to herein collectively as “Farida”) Farida, and its owners, Farida
    Gabbassova-Ricciardelli, Umitjon Kamolov (together with the companies referred to as “Defendants”)
    regarding wages. These individuals claims that Farida underpaid them in several ways including not
    properly paying tips correctly, not paying for overtime work, not paying for all hours worked, not
    paying “spread of hours” pay when the workday spanned longer than 10 hours, and not providing
    required “wage notices.” To address these issues, they filed a claim on behalf of themselves and all
    other hourly paid workers employed by Defendants under the Fair Labor Standards Act (“FLSA”)
    and New York Labor Law (“NYLL”). Now they are inviting you to join in this claim.

•   The Court has not decided whether Plaintiffs or Defendants are correct regarding any person who has
    been sent this Notice. However, if you worked for Farida any time between January 25, 2016 and
    _____, your rights may be affected, and you have a choice to make now:

                           YOUR RIGHTS AND OPTIONS IN THIS CLAIM
                         If you complete and return the attached form, you will become a part of this
    RETURN YOUR          action may be eligible to share in any proceeds from a settlement or judgment
     COMPLETED           if there is one. By joining, you give up your right to separately sue Farida
       FORM              about the same claim and if the Plaintiffs do not win, you will be bound by
                         that decision.
                         By doing nothing, you will not be included in this action at this time. You will
                         be doing nothing one way or the other in regard to any federal minimum wage,
     DO NOTHING          overtime or other federal wage claim you might have. This means that you
                         may be giving up the possibility of getting money or benefits that may come
                         from a trial or settlement of the minimum wage or overtime claims under
                         federal law asserted in this claim.




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 1. Why did I get this notice?

You are getting this notice because Defendants’ records show that you may have worked for them as an
hourly paid worker at some point between January 25, 2016 and the present.

 2. What is a collective action and who is involved?

In a collective action, one or more individuals bring a claim on behalf of themselves and others who have
similar claims. The individuals who brought this claim are called the Plaintiffs. The companies and
individual that they have sued are called the Defendants. One Court resolves the issues for everyone
who decides to join the case. This case was filed in federal court in Manhattan (United States District
Court, Southern District New York), Case No. 1:22-cv-00664-JMF.

 3. What is this claim about?

This action is about whether Defendants’ compensation practices have violated federal law (the Fair
Labor Standards Act, or FLSA) and/or state law (the New York Labor Law, or NYLL). The Plaintiffs
allege that Defendants violated federal law by not paying its employees all wages owed, including
minimum wage and/or overtime. Plaintiffs are seeking to recover underpaid wages, in addition to
liquidated damages, attorneys’ fees, and costs.

 4. What is the purpose and effect of this notice?

This notice is for the sole purpose of inviting similarly affected employees to become involved in this
case. If you elect to join this proceeding, you may share in any settlement or judgment if the Plaintiffs
are successful. There are no assurances that any recovery will be awarded.

 5. What happens if I do nothing at all?

You will not be included in this claim for the purpose of asserting a wage or overtime claim under federal
law. Therefore, you will likely not be entitled to any recovery in this case should there be any for those
claims. The limitations period on your claims continues to run. A claim under the FLSA must be brought
within two (2) years of the date the claim accrues, unless you can prove that your employer's violation
was "willful," in which case the claim must be brought within three (3) years. (The New York Labor
Law’s equivalent is six years.)

 6. How do I join this collective action claim?

To participate in this claim, you must fill out the enclosed form called “Consent to Join” and return it to
Plaintiff’s lawyers in any of the following ways:

                                   BY ELECTRONIC SIGNATURE:
                   Click the DocuSign link provided to you and complete where indicated
              (or if you did not get one, you can email penn@andersondodson.com and request a link)
                                              --OR--
                                  YOU CAN SCAN AND EMAIL IT TO
                                      admin@andersondodson.com

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                                                 --OR--
                                     TEXT A PICTURE OF IT TO
                                            (720) 647-7193
                                                 --OR--
                                            MAIL IT TO:
                                         AndersonDodson, P.C.
                                       Receiving Center PMB 255
                                           196 Alps Rd Ste 2
                                           Athens GA 30606
                                                 --OR--
                                              FAX IT TO
                                             (646) 998-8051

The signed Consent to Join form must be postmarked or received by _________ [60 days from the
mailing of this notice]. If your signed Consent to Join form is not e-signed, postmarked, faxed, or e-
mailed by _________ [60 days], you may not be allowed to participate in the federal law portion of this
claim.

 7. If I join, will there be any impact on my employment?

Federal law prohibits Defendants from discharging or in any other manner retaliating against you because
you join this case or have in any other way exercised your rights under federal law.

 8. Can I participate in this collective action claim regardless of my immigration status?

Yes. Your rights under this federal law are protected regardless of your immigration status.

 9. Do I have a lawyer in this case?

The existing Plaintiffs and any others who may join this action will be represented by two firms,
AndersonDodson, P.C. and Law Offices of Ilya Fishkin P.C. unless you specify that you want someone
else to represent you and make arrangements accordingly. You may learn more about these firm at
www.AndersonDodson.com and www.fishkinfirm.com If you join this claim, these firms will represent
you on a contingency fee basis, which means they only get paid if the claim is successful. You will not
owe any attorneys’ fees out of your pocket; the attorneys will be paid out of the judgment or settlement.

 10. FURTHER INFORMATION

Further information about this claim or this notice can be obtained by contacting Plaintiff’s Counsel at
(212) 233-6300 or (212) 961-7639 or the address, email or fax number provided above.




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